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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:17CR335

       vs.
                                                                        ORDER
GERARDO URENA-RUELAS,

                       Defendant.

       This matter is before the court on defendant's Motion for Extension of Time for Filing
Pretrial Motions [49]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 10-day extension. Pretrial motions shall be filed by
December 22, 2017.
       IT IS ORDERED:
       1.      Defendant's Motion for Extension of Time for Filing Pretrial Motions [49] is
granted. Pretrial motions shall be filed on or before December 22, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between December 12, 2017 and December 22, 2017,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       Dated this 5th day of December, 2017.

                                                     BY THE COURT:


                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
